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                  IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF OHIO
                           WESTERN DISTRICT

CAPITAL SENIOR LIVING, INC., et al.,   )    CASE NO. 3:22-cv-00606-JGC
                                       )
                   Plaintiffs,         )    JUDGE JAMES CARR
                                       )
      v.                               )    PLAINTIFFS’ NOTICE OF PROOF
                                       )    OF SERVICE OF COMPLAINT ON
HEATHER BARNHISER, et al.,             )    DEFENDANTS BARNHISER
                                       )    AND SELDERS
                   Defendants.         )
                                       )




                                       Respectfully submitted,


                                       s/ Daniel J. Cianchetta
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 22nd day of April, 2022 a true and correct copy of the foregoing

was filed electronically. Notice of this filing will be send to all parties by operation of this Court’s

electronic filing system. Parties may access this filing through the Court’s system.




                                                   s/ Daniel J. Cianchetta
                                                   One of the Attorneys for Plaintiffs Capital
                                                   Senior Living, Inc. and CSL Levis Commons,
                                                   LLC




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